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                   Exhibit 10
                                                                                                                                    Thermal Imaging Modules
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                                                                                                 Sens384                  Sens640             MiniSens384              MiniSens640             MikroSens384             MikroSens640
                                                                        Detector         Uncooled amorphous       Uncooled amorphous       Uncooled amorphous       Uncooled amorphous       Uncooled amorphous       Uncooled amorphous
                                                                                            silicon/ULIS             silicon/ULIS             silicon/ULIS             silicon/ULIS             silicon/ULIS             silicon/ULIS
                                                                    Spectral response          8~14um                   8~14um                   8~14um                   8~14um                   8~14um                   8~14um
                                                                      FPA format                 384x288                  640x480                  384x640                  640x480                  384x288                  640x480
                                                                       Pixel/pitch               17 mK                    17 mK                    17 mK                    17 mK                    17 mK                    17 mK
                                                                   Thermal sensitivity   ≤60mk     f/1.0   300K   ≤60mk     f/1.0   300K   ≤60mk     f/1.0   300K   ≤60mk     f/1.0   300K   ≤60mk     f/1.0   300K   ≤60mk     f/1.0   300K
                                                                       (NETD)
                                                                   Frame rate (PAL)               50 Hz                    25 Hz                    50 Hz                    25 Hz                    50 Hz                    25 Hz
                                                                   Frame rate (NTSC)              60 Hz                    30 Hz                    60 Hz                    30 Hz                    60 Hz                    30 Hz
                                                                     Self-adaption                 yes                      yes                      yes                      yes                      yes                      yes
                                                                      calibration
                                                                     Time to image                 <5s                      <5s                      <5s                      <5s                      <5s                      <5s
                                                                     Image display               768*576                  768*576                  768*576                  640*480                  768*576                  640*480
                                                                       resolution
                                                                    Polarity Control       black hot/white          black hot/white          black hot/white          black hot/white         black hot/white hot      black hot/white hot
                                                                                          hot/color palettes       hot/color palettes       hot/color palettes       hot/color palettes
                                                                      Digital Zoom             2x, 4x                  2x, 4x, 8x                2x, 4x                  2x, 4x, 8x                   2x, 4x                   2x, 4x
                                                                       Brightness                manual                   manual                   manual                   manual                   manual                   manual
                                                                        Contrast            Auto/manual              Auto/manual              Auto/manual              Auto/manual                    Auto                     Auto
                                                                   Operation Voltage      DC: +2.5V~+5.5V          DC: +2.5V~+5.5V          DC: +2.5V~+5.5V          DC: +2.5V~+5.5V          DC: +2.5V~+5.5V          DC: +2.5V~+5.5V
                                                                         range
                                                                   Power consumption              <1W                     <1.2W                     <1W                     <1.2W                     <1W                     <1.2W
                                                                      Operation             -40ºC~+60ºC              -40ºC~+60ºC              -40ºC~+60ºC              -40ºC~+60ºC              -40ºC~+60ºC              -40ºC~+60ºC
                                                                   Temperature Range
                                                                     Non-operating          -45ºC~+65ºC              -45ºC~+65ºC              -45ºC~+65ºC              -45ºC~+65ºC              -45ºC~+65ºC              -45ºC~+65ºC
                                                                   Temperature range
                                                                       Temperature Shock            5°/min               5°/min               5°/min               5°/min               5°/min               5°/min
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                                                                             Shock                300g/2ms             300g/2ms             300g/2ms             300g/2ms             300g/2ms             300g/2ms
                                                                             Weight                  40 g                 40 g                 32 g                 32 g                 25 g                 25 g
                                                                              Size                  38x38                38x38                30x30                30x30                24x24                24x24
                                                                       Digital video output         16Bit/               16Bit/               16Bit/               16Bit/               16Bit/               16Bit/
                                                                                              BT.656(customized)   BT.656(customized)   BT.656(customized)   BT.656(customized)   BT.656(customized)   BT.656(customized)
                                                                         Analogue video              Yes                  Yes                  Yes                  Yes                  Yes                  Yes
                                                                   !
